989 F.2d 494
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jimmie P. ROSE, Petitioner,v.REEDY COAL COMPANY;  Director, Office of Workers'Compensation Programs, United States Department ofLabor;  Old Republic Insurance Company,Respondents.
    No. 92-1237.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 9, 1993Decided:  March 19, 1993
    
      On Petition for Review of an Order of the Benefits Review Board.  (90-1842-BLA)
      Jimmie P. Rose, Petitioner Pro Se.
      Mark Elliott Solomons, Laura Metcoff Klaus, ARTER &amp; HADDEN, Washington, D.C.;  Cathryn Celeste Helm, Barbara J. Johnson, UNITED STATES DEPARTMENT OF LABOR, Washington, D.C., for Respondents.
      Ben. Rev. Bd.
      DISMISSED.
      Before PHILLIPS and LUTTIG, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Jimmie Rose seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. §§ 901-945 (West 1986 &amp; Supp. 1992).  The applicable filing period for appeals to this Court from decisions of the Board is sixty days.  33 U.S.C.s 921(c)(1988).  We have held that the failure to file a petition for review in the Circuit Court within the time period prescribed by § 921(c) deprives the court of jurisdiction to consider the appeal.   See Adkins v. Director, Office of Workers' Compensation Programs, 889 F.2d 1360 (4th Cir. 1989).
    
    
      2
      In view of Rose's failure to file a timely petition for review, we dismiss this appeal for lack of jurisdiction.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    